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                                                                                                07/03/2019

                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Charlottesville Division

  ELIZABETH SINES et al.,                            )
       Plaintiffs,                                   )       Civil Action No. 3:17-cv-00072
                                                     )
  v.                                                 )       ORDER TO DEFENDANT
                                                     )       VANGUARD AMERICA
                                                     )
  JASON KESSLER et al.,                              )       By:        Joel C. Hoppe
            Defendants.                              )                  United States Magistrate Judge
                                                     )

            On July 2, 2019, the Court held a telephonic hearing on the record with Plaintiffs’

  counsel and Dillon Hopper, Defendant Vanguard America’s authorized representative in this

  litigation, to identify Vanguard America’s outstanding discovery obligations, set a schedule for

  Mr. Hopper to comply with those obligations, and discuss other procedural matters.1 See Order

  of June 21, 2019, at 2, ECF No. 508. Mr. Hopper, who appeared and participated as directed,

  confirmed that he has received each of the Orders, discovery requests, and Stored

  Communications Act (“SCA”) consent forms that explain Vanguard America’s outstanding

  discovery obligations. See id. at 2–4. Accordingly, Mr. Hopper shall comply with the following

  steps and deadlines:

        1. Within seven (7) days from the date of this Order:

                a. Give Plaintiffs’ counsel a complete and accurate SCA consent form(s) allowing

                    Discord, Twitter, and any other social media provider to produce any

                    discoverable documents or electronically stored information (“ESI”) requested by

                    Plaintiffs’ counsel in this lawsuit. See Order of June 21, 2019, at 3; Order of Nov.

                    12, 2018, at 2, ECF No. 379.



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      Other Defendants also appeared and participated at the hearing.
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            b. Execute the Third Party Discovery Vendor contract mentioned in the Stipulation

               and Order for the Imaging, Preservation, and Production of Documents, ECF No.

               383 (“Imaging Order”). See Order of June 21, 2019, at 3; Order of Mar. 4, 2019,

               at 2–3, ECF No. 440.

            c. Complete and give to Plaintiffs’ counsel the Certification Form attached as

               Exhibit A to the Imaging Order. See Order of June 21, 2019, at 3; Order of Mar.

               4, 2019, at 2–3.

     2. Within fourteen (14) days from the date of this Order:

            a. Make available to the Third Party Discovery Vendor for imaging and collection

               any Electronic Devices or Social Media Account credentials identified in the

               Certification Form. See Order of June 21, 2019, at 3; Order of Mar. 4, 2019, at 3.

               After the Discovery Vendor has collected all ESI responsive to the parties’

               agreed-upon search terms, the Court will set another deadline for Vanguard

               America’s officer, director, or managing agent to review the results and produce

               all nonprivileged materials to Plaintiffs’ counsel. See Order of June 21, 2019, at 3

               n.2.

     3. Within twenty-one (21) days from the date of this Order:

            a. Provide complete and accurate written answers to Plaintiffs’ First Set of

               Interrogatories. See Order of June 21, 2019, at 3 & n.2; Order of Mar. 26, 2018, at

               3, ECF No. 287.

            b. Provide complete and accurate written responses to Plaintiffs’ Requests for

               Production of Documents, and produce or permit inspection of any requested




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                documents or ESI that were not collected by the Discovery Vendor. See Order of

                June 21, 2019, at 3 & n.2; Order of Mar. 26, 2018, at 3.

     4. On Tuesday, July 30, 2019, Mr. Hopper shall sit for a deposition by Plaintiffs’ counsel

        devoted exclusively to both his and Vanguard America’s conduct in pretrial discovery,

        including their efforts to preserve any documents, information, or materials that are

        potentially relevant to this litigation. See Order of June 21, 2019, at 4. The Court expects

        that Mr. Hopper will participate in good faith as required by the Federal Rules of Civil

        Procedure and this Court’s prior discovery orders. See id. at 2. Plaintiffs are given leave

        to depose Mr. Hopper in subsequent depositions on the merits of Plaintiffs’ allegations.

        Id. at 4; Fed. R. Civ. P. 30(a)(2)(A)(ii).

        It is so ORDERED.

        The Clerk shall send a copy of this Order to the parties.

                                                         ENTER: July 3, 2019



                                                         Joel C. Hoppe
                                                         U.S. Magistrate Judge




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